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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

HISPANIC FEDERATION, et al.,
             Plaintiﬀs,
v.
                                              Case No. 4:23-cv-218-AW-MAF
CORD BYRD, etc., et al.,
             Defendants.


      PLAINTIFF B. DOE’S NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiﬀ B. Doe

voluntarily dismisses his claims against all Defendants without prejudice.

      Respectfully submitted this 31st day of May, 2023,

                                          /s/ Nicholas L.V. Warren

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                        CERTIFICATE OF SERVICE

      I certify that I served the foregoing on Counsel for Defendants by emailing it

on May 31st, 2023 to the following email addresses:

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